Case 2:Ol-Cr-00237-WDK Document 171 Filed 09/15/09 Page 1 of 1 Page |D #:48

 

UNI'I`ED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CALlFORNIA

 

 

 

 

UNITED STATES OF AMERICA, \ Westcrn Division

Plaintiff`, l

vs¢ | Case anber; 2;0i-CR-00237-w1)1<~2 PSA Wm.,am
t | lnnial App. Dare; 09/\ 5/2009 f_,mial ,§*ppt T]-me: 1100 pM
Gregory Alan foster :
Derendam. l pate Filed: 08/28/200<)
Violation: l8:3583
= CourtSmart: 0 {5 Oq
PROCEED|NGS HELD BEFORE UNiTED sTATEs | CALENnAR/PROCEED|NGS sHEET
MAGlsTRATE JUDGE: Suzanne n. segal | LocAL/oUr-oF-r)lsrkicr CAsE

 

PRESENT: Lazo, Denise None

6 ' main
/ I)epuly(`/erk AS_v/_v,a", 1/_$_ A,,(,rm,y Imerpreler language
;___E Defe ant informed of charge and right to: remain silent; appointment ofcounsel, if indigent right to bail; bail review and

,, ,.

preliminary hearing OR Li emova| hearing/ Rnle 20.
945 charged 53 is

 

    

 

V?fendant states true name
efendant advised of consequencesl?@e statement in financial affidavit iii Financial Affidavit ordered SFLA|,.|€`.D.
A

 

7 Attomey:Firdans Dordi,DFPD iii ppointed iii Prev.Appointed g Poss.Contribution(see separate order)
1/~~5 Special appearance by: // »»»»» '
Gov nmem’s request for der 'onis; P=/GRANTED W DENlED ii wlTHDRAWN ij CONTINUED

efendant is ordered: Permanently Detained i Temporarily Detai ned (see separate order).
r‘; BAIL FIXED AT $ (SEE ATTACHED COPY OF CR-l BONI) FORM FOR CONDITIONS)

 

Go rnment moves to UNSEALCoinplaint/lndictment/lnfonnation/Entire Case: (3 GRANTED i~: DENlED
eliininary Hearing waived.

 

ii Class B Misdemeanor i- Defendant is advised of maximum penalties
5 This case is assigned to Magistrate Judge . Cotmsel are directed to contact the clerk for the

fng of all further procee|:i?t
Po/PSA wARRAN 1~ our

l awted to contact the clerk for
District .ludge f p 1 rp i/SQ for the setting of further proceedings

 

 

 

  

 

 
 

 

 

 

Preliminary Hearing`s`e‘(for ' / at 4:30 PM
=_/,§ PlA set for: at 8:30 AM in LA; at 3:00 PM in Riverside; at 10:00 AM in Santa Ana
`*~~i Govemment’s motion to dismiss case/defendant only: g GRANTED iii DENlED
i: Defendant’s motion to dismiss for lack of probable cause: hi GRANTED iii DENlED
53 Defendant executed Waiver of Rights. 53 Process received
_____ ourt ORDERS defendant l-leld to Answer to Di strict of
iii Bond to transfer, if bail is posted Defendant to report on or before
m Warrant of removal and final commitment to issue Date issued: By CRD:
iii Warrant of removal and final commitment are ordered stayed until
513 Case continued to (Date) (Time) AM / PM
Type of Hearing: Before .ludge /Duty Magistrate Judge.

 

P ceedings will be held in the Duty Courtroom ---- Judge’s Courtroom
%:fendant committed to the custody of the U.S. Marshal m Stunmons: Defendant ordered to report to USM for processing
z Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
Abstract of Order to Retnm Defendant to Court on Next Court Day (M-20) issued Original forwarded to USM.
§ RELEASE ORDER NO;
/

m thel", l

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\/ PSA YANANCIAL (/izEon
Deputy Clerk lnitials j

cci lfz`f§ pSA Warrant

 

M-$ (()3/09) CALENDAR/FROCEED|NG SHEET - LOCAUOUT-OF-D{STR|CT CASE Page l o|' l

